Case 1:10-cv-06950-AT-RWL Document152 Filed 05/30/12 Page1of2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

H. CRISTINA CHEN-OSTER; LISA PARISI; 10-Civ. 6950 (LBS) (JCF)
and SHANNA ORLICH,

Plaintiffs,

vs. DECLARATION OF BARBARA
BROWN IN SUPPORT OF
DEFENDANTS’ OPPOSITION TO
PLAINTIFFS’ MOTION TO COMPEL
DISCOVERY OF DATA AND
DOCUMENTS

GOLDMAN, SACHS & CO. and THE
GOLDMAN SACHS GROUP, INC.

Defendants.

I, Barbara Berish Brown, hereby affirm under oath that the following is true and correct:

1. I am a partner at Paul Hastings LLP and represent Goldman, Sachs & Co.
and The Goldman Sachs Group, Inc. (“Goldman Sachs” or “Defendants”) in the above-
referenced action. I am admitted pro hac vice to this Court. I make this Declaration based on

personal knowledge.

Zi Attached hereto are true and correct copies of the following documents
being provided in support of Defendants’ Opposition to Plaintiffs’ Motion to Compel Discovery

of Data and Documents:

a. Attached as Exhibit 1 is a copy of a letter from Barbara Brown to

Magistrate Judge Francis, dated February 29, 2012.

b. Attached as Exhibit 2 is a copy of transcript excerpts from the

deposition of Cathy Obradovich, taken on April 18, 2012.
Case 1:10-cv-06950-AT-RWL Document152 Filed 05/30/12 Page 2of2

é. Attached as Exhibit 3 is a copy of a letter from Barbara Brown to
Magistrate Judge Francis, dated April 3, 2012, attaching Exhibit A (Affidavit of Cathy
Obradovich) and Exhibit B (Affidavit of Ankur Pathak).

d. Attached as Exhibit 4 is a copy of the Declaration of Vishali
Chandramouli.

e Attached as Exhibit 5 is a copy of a letter from Geoff Weirich to

Adam Klein, counsel for Plaintiffs, dated May 21, 2012.

I declare under penalty of perjury that the foregoing is true and correct.

Dated this 30th day of May, 2012.

Barbara B. Brown — Buren

28 U.S.C. § 1746
